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 8                              UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11 MS. L, et al.,                                Case No. 18cv428 DMS MDD
12                  Petitioners-Plaintiffs,
13         vs.                                   ORDER GRANTING CONSENT
                                                 MOTION FOR EXTENSION OF
14 U.S. IMMIGRATION AND CUSTOMS                  RESPONSE DEADLINE
   ENFORCEMENT, et al.,
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               Respondents-Defendants.
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           Before the Court is Defendants’ Consent Motion for Extension of Response Deadline.
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     For good cause shown, IT IS HEREBY ORDERED that the deadline for Defendants to
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     respond to Plaintiffs’ Motion for Stay of Removal is extended by 24 hours until 9am PST
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     on July 24, 2018.
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     Dated:
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24                                                    Hon. Dana M. Sabraw
25                                                    United States District Judge

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